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        Exhibit A
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                                                                                           US010339520B2

(12) United
     Wyatt
            States Patent                                                 (10) Patent No.: US 10 ,339,520 B2
                                                                          (45) Date of Patent:      Jul. 2, 2019
(54 ) MULTI- FUNCTIONAL CREDIT CARD TYPE                                                   G06Q 20/ 352 (2013 .01); G06Q 20/ 385
      PORTABLE ELECTRONIC DEVICE                                                             (2013.01); G06Q 20/3827 ( 2013.01);
                                                                                               (Continued )
(71) Applicant: Virtual Electric Inc., San Jose, CA                 (58 ) Field of Classification Search
                    (US)                                                    CPC . G06K 19 /0718 ; G07F 7 / 0833 ; G07F 7 /0846 ;
                                                                                    G07F 7 / 10 ; G06Q 20 / 105 ; G06Q 20 /223;
(72 ) Inventor : David Wyatt, San Jose , CA (US)                                       G06Q 20 /3223 ; G06Q 20 / 341; G06Q
                                                                                                          20 /3563; G06Q 20 /40145
(73 ) Assignee : Virtual Electric Inc ., San Jose, CA                     See application file for complete search history.
                    (US)
                                                                    (56 )                References Cited
( * ) Notice :      Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35                       U .S . PATENT DOCUMENTS
                 U .S .C . 154 (b ) by 0 days.                             6 ,631,849 B2    10 /2003 Blossom
(21 ) Appl. No.: 15 /701 ,261                                              6 ,641,050 B2    11/ 2003 Kelley et al.
                                                                                               (Continued )
(22 ) Filed : Sep . 11 , 2017                                       Primary Examiner — Seung H Lee
(65 )               Prior Publication Data                          (57 )               ABSTRACT
      US 2018 /0247300 A1 Aug. 30 , 2018                            An embodiment includes a credit card device capable of
                                                                    generating a programmed magnetic field of alternating
                                                                    polarity based on a speed of a card swipe , and methods for
             Related U .S . Application Data                        constructing the device for the purpose of emulating a
(60 ) Continuation of application No. 14 /981,757 , filed on        standard credit card . An apparatus is described to allow said
      Dec. 28, 2015, now Pat. No. 9,760 ,884 , which is a           device to emulate behavior of a credit card when used in
                                                                    electronic credit card readers . Additionally methods are
                           (Continued )                             described to allow user control of said device for the purpose
                                                                    of authorizing or controlling use of said device in the
(51) Int. Ci.                                                       application of credit , debit and cash transactions, including
      G06K 19 / 06               (2006 . 01)                        cryptocurrency and card -to - card transactions. Methods are
      G06Q 20 /34                ( 2012 .01 )                       also described for generating a limited -duration credit card
                           (Continued )                             number when performing a transaction for the purpose of
(52) U . S . CI.                                                    creating a limited -use credit card number , which is limited
     CPC ... G06Q 20 /341 (2013.01 ); G06K 19 /06206                in scope of use to a predetermined number of authorized
                 ( 2013 .01) ; G06K 19 /0716 (2013 .01 ); GOOK      transactions. Furthermore said device may interact with
                 19 /07749 ( 2013 .01); G060 20 /06 ( 2013 .01);    other similar devices in proximity for the purpose of funds
                      G06Q 20 / 065 ( 2013 .01 ); G06Q 20 /223      or credit /debit transfers .
                    ( 2013 .01) ; G060 20 / 24 ( 2013 .01) ; G060
                 20 /346 (2013.01); G06Q 20/347 ( 2013 .01 );                       24 Claims, 7 Drawing Sheets

                            100

                                                                    130

                                                                            101
                                                                     155




                                                                                                                     150




                                                                    120
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          Apr. 7 , 2015 , now Pat. No . 9 , 224, 083 , which is a           7 ,793 ,851 B2     9 /2010 Mullen
          division of application No . 14 / 217 , 261, filed on Mar.        7 ,841,539 B2     11/2010 Newton
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(60 ) Provisional application No .61/ 794 ,891, filed on Mar.               8 ,768 ,838 B1     7 / 2014 Hoffman
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                                                                            9 ,022 ,286 B2 5 /2015 Wyatt
(51) Int. Cl.                                                               9 , 100 ,826 B2   8 /2015 Weiss
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          G060 20 / 06                ( 2012 .01)                           9 ,430 ,765 B2    8 /2016 Wyatt
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          G060 20 / 38               ( 2012.01)                             9 , 536 ,238 B2    1/ 2017 Garrett et al.
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(52) U .S . CI.                                                         2013 /0048712 AL 2 /2013 Guillaud et al.
     CPC ....... G06Q 20 /409 (2013.01); G06Q 20 /4012                  2013 /0124292 AL 5 /2013 Juthani
                        (2013 .01); G07F 770873 (2013.01); G07F         2013/ 0297509    A1 * 11/ 2013 Sebastian ........... G06Q 20/3226
                                                                                      J9 Al
                                                 19 / 00 ( 2013 .01)                                                              705/ 44
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                                                                        2018 /0240106 AL       8 /2018 Garrett et al.
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                                     130




                                       155




                                                                       150




                                      120




                                FIG . 11
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 2012
                                                                                                  230



                                               Optical sensor array

                                                                                                              225


                                                                                                              220

                                     Coil 215
                                  Interface
                                                              Memory
                                                        207 Memory                     209
    Motion 210                                                   Processor
    Detection
                                              240
                                  Real- Time                           Touch Sensor          Power
                                    Clock                                                    Source
                                                                                                        255

                                                        Display                  250


        235

                                               FIG . 2A
 2015
                                                                                                  230


                                               Opticalsensor array
              DDDDDDDDDDDDDDDDDDDDDDU
                      NOOOOOOOOOOOOOOOOOOOO                                                                   225




                                     Coil 215
                                  interface
                                                        202 Memory
                                                        207 Memory                     209        NFC
                                                                                                     2601
    Motion 210                                                    Processor
    Detection                                                                                     REID
                                                                                                      265
                                              240
              270                 Real- Time                           Touch Sensor            Power
        USB                         Clock                                                    Source
                                                                                                        255
                    Galvanic
                    sensor
                                                       Display                   250


        235

                                               FIG . 2B
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 280



                                                                       282
          display a plurality of accounts stored by a memory comprised by
                                  a credit card device



                                                                            284
             receive an indication of a selection of an accountfrom the
                                 plurality of accounts



                                                                            286
              configure the credit card device to perform a transaction
           according to user data associated with the selected account



                                                                            288
            encode a planar coil of the credit card device with a limited
           duration credit number associated with the selected account


                                     FIG . 2C
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  300




                                                301
                               Is a standard magnetic card
                                 reader detected to be in
                                        proximity ?


                                               YES

                                                                              303
            Detect a movement rate at which the body of the credit card
           device is moving relative to the standard magnetic card reader



                                                                               305
         Generate a magnetic field via an inductor assembly comprised by
            the credit card device , the magnetic field having a target rate of
           alternating polarity , wherein the target rate of alternating polarity
                        is based on the detected movement rate




                                          FIG . 3
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                                                                           401




                                 FIG . 4A




                                                                           2011




                                                         450b


                                 FIG . 4B
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                                                                       500




                          FIG . 5




601a
                 ?? (??
                                                          ? 601
               650?




                           FIG . 6
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                                                                                701
                   receive an input signal at a credit card device from a user
                 enabling operation of a near-field communication (NFC ) unit of
                                     the credit card device



                                                                                 703
                 receive an indication of an amount of currency for a transaction



                                                                                 705
             generate , at the credit card device, an limited-duration credit card
                                             number



                                                                                 707
                 transmit the limited -duration credit card number from the credit
                           card device to a recipient of the transaction

                                            FIG . 7
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    MULTI- FUNCTIONAL CREDIT CARD TYPE                                chips and RF technology are not in wide use at present
          PORTABLE ELECTRONIC DEVICE                                  because they are incompatible with existing credit card
                                                                      infrastructure , which still predominantly supports conven
                RELATED APPLICATIONS                                  tional plastic credit cards.
   This continuation application claims the benefit of and                      SUMMARY OF THE INVENTION
priority to , commonly owned U . S . patent application Ser.
No. 14 /981 ,757, now U . S . Pat. No . 9 ,760,884, filed Dec . 28 ,   This Summary is provided to introduce a selection of
2015 , entitled “Multi- Functional Credit Card Type Portable         concepts in a simplified form that are further described
Electronic Device ,” to inventor David Wyatt, which in turn 10 below in the Detailed Description . This Summary is not
claimed the benefit of and priority to U . S . Non - provisional      intended to identify key features or essential features of the
patent application Ser. No . 14 /680 .979. now U . S . Pat. No.       claimed subject matter, nor is it intended to be used to limit
9 ,224,083 , entitled “Multi-Functional Credit Card Type Por the scope of the claimed subject matter.
table Electronic Device ," filed Apr. 7 , 2015 to inventor            An embodiment includes a credit card device capable of
David Wyatt, which claimsthe benefit of and priority to U . S . 15 generating a programmed magnetic field of alternating
Non -provisional patent Ser. No . 14 / 217 . 261, entitled “Multi- polarity based on a speed of a card swipe, and methods for
Functional Credit Card Device,” filed Mar. 17 , 2014 to               constructing the device for the purpose of emulating a
 inventor David Wyatt , which claims the benefit of and               standard credit card . An apparatus is described to allow said
priority to U . S . Provisional Patent No . 61/ 794 .891 , entitled device to emulate behavior of a credit card when used in
“Multi - Functional Credit Card Device.” filed Mar. 15 , 2013 20 electronic credit card readers . Additionally methods are
to inventor David Wyatt , each of which are hereby incor            described to allow user control of said device for the purpose
porated herein in their entirety by reference .                     of authorizing or controlling use of said device in the
                                                                    application of credit, debit and cash transactions, including
                  FIELD OF THE INVENTION                            cryptocurrency and card -to -card transactions. Methods are
                                                                   25 also described for generating a limited -duration credit card
   Embodiments according to the present disclosure gener              number when performing a transaction for the purpose of
ally relate to electronic or smart credit card devices and,           creating a limited -use credit card number, which is limited
more specifically , to more secure , smart credit card devices .      in scope of use to a predetermined number of authorized
                                                                      transactions. Furthermore said device may interact with
          BACKGROUND OF THE INVENTION                           30 other similar devices in proximity for the purpose of funds
                                                                   or credit /debit transfers.
   There are several different types of credit cards available       More specifically, an aspect of the present disclosure
in the marketplace at present. A first type of credit card is a    provides an apparatus comprising : a thin card shaped sized
conventional, standard piece of plastic with a magnetic strip , body ; a memory operative to store a plurality of identifica
which is readily available and in wide commercial use . The 35 tion data ; a processor coupled to the memory ; a user
advantage of this first type of credit card is that a large           interface for selecting a select identification data of said
portion of the infrastructure for credit card transactions is        plurality of identification data ; a magnetic card reader detec
built around this type of card , and consequently such a card        tion unit for determining if the body is adjacent to a standard
works in a wide array of vendors ' credit card machines,             magnetic card reader ; and an inductor assembly coupled to
automated teller machines (ATMs), and other devices that 40 the processor and integrated into the body, the inductor
support the present credit card and banking infrastructure .          assembly under processor control for generating a magnetic
  Another type of credit card device employs the use of a             field of alternating polarity responsive to the body being
smart integrated circuit chip . These types of credit cards           detected as adjacent to a standard magnetic card reader, the
have a built in microprocessor with cryptographic capabili-          magnetic field generated in a region substantially encom
ties. These microprocessors operate in a similar manner to a 45 passing the standard magnetic card reader, wherein the
cell phone having a chip comprising a cryptographic pro -             magnetic field encodes said select identification data , and
cessor. Such a smart card device requires contact with a              wherein the magnetic field is operable to be read by a
reader in order to be read and to perform a transaction . The         magnetic read head of the standard magnetic card reader.
reader provides the manner in which a facility interacts with            According to another aspect of the present disclosure, a
 the built - in processor on the card , e . g ., for purposes of 50 credit card device comprises : a near- field communication
performing verification on the authenticity of the card or for        (NFC ) unit; a touch sensor array ; a display ; a motion rate
making a direct deposit on the card . These credit card               detection array ; a memory , storing a user data and a currency
devices also comprise a magnetic strip such that they are             amount; and a processor operatively coupled to the NFC
compatible with standard plastic credit card readers in wide unit, the touch sensor array , the display , the motion rate
use .                                                       55 detection array, and the memory ; and wherein the processor
   A different type of credit card device in circulation initiates a card - to -card transaction between two credit card
employs radio frequency identification (“ RFID ” ). These devices by a detected proximity of a first credit card device
cards essentially have a low -power RF antenna built into the         and a second credit card device and an input of information
card , and when the cardholder passes the antenna in front of         by a first user via said touch sensor array, and wherein the
a reader comprising an RF field , enough power is generated 60 card - to -card transaction comprises an exchange of stored
to enable the processor to interact wirelessly with the               currency and said user data between the first credit card
?? /???ti?–??   ??m?                                                  device and the second credit card device via the NFC unit .
   A concern with each of these types of credit cards                    According to yet another aspect of the present disclosure ,
presently available in the marketplace is that they can all be ,      a method of performing a transaction comprises : receiving
 in various ways, susceptible to theft and /or compromise . 65 an input signal at a credit card device from a user enabling
 Therefore , these types of credit cards have security limita - operation of a near- field communication (NFC ) unit of the
tions . Further, cards employing smart integrated circuit             credit card device ; receiving an indication of an amount of
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currency for a transaction; generating at said credit card           desired result. The steps are those requiring physical
device a limited -duration credit card number, and transmit-         manipulations of physical quantities . Usually , though not
ting said limited -duration credit card number from said             necessarily , these quantities take the form of electrical or
credit card device to a recipient of the transaction .               magnetic signals capable of being stored , transferred , com
                                                                  5 bined , compared , and otherwise manipulated in a computer
      BRIEF DESCRIPTION OF THE DRAWINGS                             system . It has proven convenient at times , principally for
                                                                     reasons of common usage , to refer to these signals as bits ,
   Embodiments of the present disclosure are illustrated by   values , elements , symbols, characters , terms, numbers, or
way of example, and not by way of limitation , in the figures the
of the accompanying drawings and in which like reference 10 Itlike     .
                                                                   should be borne in mind , however, that all of these and
numerals refer to similar elements .                                 similar terms are to be associated with the appropriate
   FIG . 1 is an illustration depicting an exemplary interac         physical quantities and are merely convenient labels applied
tion between a credit card device and a standard magnetic
card reader , according to an embodiment of the present 15 toapparent
                                                                these quantities. Unless specifically stated otherwise as
                                                                       from the following discussions, it is appreciated
disclosure.                                                          that throughout the present claimed subject matter, discus
   FIGS. 2A - 2B are block diagrams illustrating data flow           sions utilizing terms such as “ storing,” “ creating ,” “ protect
between the magnetic coils on the credit card device and the         ing ,” “ receiving ," " encrypting ,” “ decrypting," " destroying,"
microprocessor on the credit card according to an embodi
ment of the present disclosure .                            or the like, refer to the action and processes of a computer
  FIG . 2C depicts an exemplary process of selecting an 20 system or integrated circuit , or similar electronic computing
account from a plurality of stored accounts according to an device , including an embedded system , thatmanipulates and
embodiment of the present disclosure .                      transforms data represented as physical ( electronic ) quanti
   FIG . 3 is a flowchart illustrating an exemplary process of       ties within the computer system 's registers and memories
generating a magnetic field with an alternating polarity into other data similarly represented as physical quantities
according to an embodiment of the present disclosure . 25 within the computer system memories or registers or other
  FIGS. 4A -4B illustrate a user interacting with a touch such information storage , transmission or display devices.
sensor of the credit card device, according to an embodiment Encoding Via an Alternating Polarity of a Magnetic Field
of the present disclosure .                                             In one embodiment of the present disclosure , a smart
   FIG . 5 is an illustration of a credit card device connected      credit card device comprises a dynamic magnetic region
with a computing system and operating according to an 30 ( strip ) incorporating a main inductor assembly from which
embodiment of the present disclosure .                     programmed magnetic field data symbols are dynamically
   FIG . 6 is an illustration of two credit card devices   generated. In one embodiment the inductor assembly may be
performing a transaction according to an embodiment of the a planar coil formed within the material that embodies the
present disclosure .                                                 credit card . An advantage of using a planar coil is that it can
  FIG . 7 depicts an exemplary process according to an 35 dynamically produce a magnetic field in such a manner as to
embodiment of the present disclosure .                    emulate the interaction between a traditional magnetic strip
                                                          and a conventional credit card reader. As the magnetic strip
          DETAILED DESCRIPTION OF THE                     of a conventional credit card is passed through a magnetic
                        INVENTION                                    reader head , stripes of alternating magnetic polarity embed
                                                                  40 ded in the strip induce a magnetic field of alternating polarity
  Reference will now be made in detail to the various                at the reader head . The pattern formed by the alternating
embodiments of the present disclosure , examples of which            polarity of the magnetic field encodes information , which
are illustrated in the accompanying drawings . While                 when transformed by a transducer to a current signal in the
described in conjunction with these embodiments , it will be         magnetic reader head , provides user information for a trans
understood that they are not intended to limit the disclosure 45 action .
to these embodiments . On the contrary, the disclosure is           Embodiments of the present disclosure provide a credit
intended to cover alternatives , modifications and equiva -          card device able to generate a programmed magnetic field ,
lents , which may be included within the spirit and scope of         wherein data is encoded and represented by an alternating
the disclosure as defined by the appended claims. Further      polarity of the generated magnetic field . In a similar manner
more , in the following detailed description of the present 50 to a conventional plastic credit card , the magnetic field
disclosure, numerous specific details are set forth in order to      produced by the planar coil is able to be read by a pickup (or
provide a thorough understanding of the present disclosure .         “ transducer ” ) and to thereby transmit information to the
However, it will be understood that the present disclosure           magnetic card reader . FIG . 1 illustrates a credit card trans
may be practiced without these specific details . In other           action 100 performed between a credit card device 101 and
instances , well- known methods, procedures, components , 55 a conventional magnetic reader 150 . The credit card device
and circuits have not been described in detail so as not to  101 generates a magnetic field of alternating polarity 120 to
unnecessarily obscure aspects of the present disclosure .            be read by the conventional magnetic card reader 150 ,
  Some portions of the detailed descriptions which follow            according to an embodiment of the present disclosure . The
are presented in terms of procedures, steps, logic blocks,       credit card device 101 is moved at a rate 130 relative to a
processing, and other symbolic representations of operations 60 magnetic reader head 155 of conventional magnetic card
on data bits that can be performed on computer memory. reader 150. The magnetic field 120 extends with sufficient
These descriptions and representations are the means used            distance and intensity from credit card 101 so as to be read
by those skilled in the data processing arts to most effec           by magnetic head reader 155 . The magnetic head reader 155
tively convey the substance of their work to others skilled in       responds to the magnetic field 120 by producing a current in
the art . A procedure , computer generated step , logic block , 65 the conventional fashion , which is then interpreted as
process, etc ., is here , and generally , conceived to be a          encoded information by the magnetic reader 150. Therefore
self -consistent sequence of steps or instructions leading to a      the magnetic field of alternating polarity 120 produced by
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the credit card device 101 has a substantially identical           density present in conventional magnetic card strips. The
encoding effect as a traditional magnetic strip .                  magnetic data symbols generated by the planar coil 220 are
  A characteristic of encoding information in a conventional       produced to align with the rate at which data is being read
magnetic card strip is that binary information is encoded by       by the magnetic card reader . Accordingly, it is irrelevant if
the pattern of alternating magnetic polarity formed by fer - 5 the credit card device 201? of the present disclosure is being
romagnetic stripes embedded on the magnetic strip . As the         swiped quickly or slowly , the planar coil 220 is controlled by
conventional magnetic card strip has a standardized format,        the processor unit 205 to produce data at a substantially
the encoding of information is provided at a specified data        optimized rate , where the rate of data production is depen
density (bits per inch ), according to which conventional          dent on the rate at which the credit card device 2010 is
magnetic readers are designed for interpretation of encoded 10 detected to be passing across the magnetic reader head .
data . In order to most ably emulate a conventional credit           FIG . 2B depicts a credit card device 2016 according to an
card interaction with a conventional magnetic reader the           embodiment of the present disclosure . Credit card device
credit card device 101 of the present disclosure is provided       201b comprises a processor 205 and a memory unit 207 , the
with a means of determining a substantially optimal rate for processor 205 operatively coupled to the components of
alternating the polarity of the generated magnetic field 120 15 credit card device 2016 . The memory 207 comprises a
in order to produce data at a rate which is able to be readily     plurality of accounts 209 , which may be credit card
received and correctly interpreted by the conventional mag         accounts, banking accounts , merchant accounts , online
netic reader 150 . Embodiments of the present disclosure         accounts, cryptocurrency accounts , and combinations
provide severalmeans of determining the relative movement thereof. A motion detection module 210 is coupled to the
rate 130 between the credit card device 101 and themagnetic 20 processor unit 205 and to a set ofmotion detection units ,
reader head 155 . These features, as well as other character     which comprise a rate detection assembly 225 , an optical
istics of the credit card device of the present disclosure , can sensor array 230 , and a set ofaccelerometers 235 . Addition
be better appreciated by a description of the internal com -       ally , a galvanic sensor 275 is coupled to processor unit 205 .
ponents and functions of credit card device 101.             The magnetic field is generated via a planar coil 220 , which
   FIGS. 2A and 2B depict exemplary embodiments of the 25 is controlled by the processor unit 205 via a coil interface
smart credit card device , in a block diagram view . The 215 . The rate at which the magnetic field changes polarity to
components of the block diagram are illustrated according to encode the user data depends on the rate of relative move
functional connections , and their locations should not be ment detected by the rate detector. The credit card device
construed as being limited to the respective locations as    2016 further comprises a real-time clock 240 , a touch - sensor
depicted in FIGS. 2A -2B . In FIG . 2A , credit card device 30 array 245 , and a display 250 , each operatively coupled to the
201a is shown in a block diagram view . Credit card device processor unit 205 . A user input may be made via the touch
201a comprises a processor 205 and a memory unit 207, the sensor array 245, which may comprise a touch screen panel,
processor 205 operatively coupled to the components of         a keypad , or a combination thereof. The display 250 is able
credit card device 201a . The memory 207 comprises a to display an alphanumeric sequence , as well as graphical
plurality of accounts 209, which may be credit card 35 icons (such as a logo for a bank , or other images ) . Further,
accounts , banking accounts , merchant accounts, online            an optional backup power source 255 is depicted . Credit
accounts , cryptocurrency accounts , and combinations              card device 2016 further comprises a near - field communi
thereof. A motion detection module 210 is coupled to the           cation (NFC ) unit 260, as well as a radio frequency identi
processor unit 205 and to a set of motion detection units,         fication (RFID ) unit 265 , both of which are operatively
which comprise a rate detection assembly 225 , an optical 40 coupled to the processor unit 205 . In one embodiment the
sensor array 230 , and a set of accelerometers 235 . The           NFC and RFID may share the planar coil for use as a RF
magnetic field is generated via a planar coil 220 , which is       antennae , through the coil interface 215 . In one embodiment
controlled by the processor unit 205 via a coil interface 215 .    one or both the NFC and the RFID may have antennae
The rate at which the magnetic field changes polarity to           dedicated to that individual sub -system . A universal serial
encode the user data depends on the rate of relative move - 45 bus (USB ) connector 270 is coupled to the processor unit
ment detected by the rate detector. The credit card device      205 . The functionality of the components with regard to
201a further comprises a real-time clock 240, a touch - sensor  exemplary uses of credit card devices 201a and 2015 is
array 245 , and a display 250 , each operatively coupled to the described in greater detail in the following description .
processor unit 205 . A user input may be made via the touch        A further aspect of the present disclosure provides a single
sensor array 245 , which may comprise a touch screen panel, 50 credit card device that can be used for multiple banks or
a keypad , or a combination thereof. The display 250 is able       financial institutions. For example, instead of carrying a
to display an alphanumeric sequence , as well as graphical         separate credit card for each account of a variety of credit
icons ( such as a logo for a bank , or other images ). Further ,   card companies, a customer need only to carry a single card
an optional backup power source 255 is depicted .                  according to embodiments of the present disclosure. The
  In one embodiment, the processor unit 205 is connected 55 capability of the credit card device to generate a multitude
to the planar coil 220 and the motion detection units, via the     of credit card numbers provides the ability of the credit card
motion detection module 210 . The processor unit 205 is            device to be associated with multiple accounts . Furthermore ,
responsible for determining the appropriate rate with which        inputs at the touch sensor array on the credit card device can
to output data from the planar coil 220 , wherein output data      be used to select the appropriate bank or credit provider
is encoded using alternating polarity of a generated magnetic 60 account stored in thememory unit of the credit card device .
field . The rate of the alternating polarity of themagnetic field  FIG . 2C depicts a process of selecting an account from a
is generated in accordance with the detected movement              plurality of stored accounts in order to perform a transaction
speed with which the card is swiped through the reader, in         with the selected account, according to an embodiment of
order for the reader to receive the encoded data at the            the present disclosure. The process 280 begins at step 282 ,
appropriate rate . Magnetic card readers, which are designed 65 where a plurality of accounts stored by the credit card device
to read conventional credit cards, are constructed to read memory is displayed . The plurality of accounts 209 are
data at specified input rates that correspond with the data stored by memory 207 , and are displayed using display 250 .
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A user indicates an account selected from the plurality of          set of accelerometers comprises groups of accelerometers ,
accounts at step 284. The selection is able to be made by           each group having one or more accelerometers disposed at
keypad or touch sensor array 245 , and an indication of the         orthogonal planes to each other, and each group capable of
selected account can be displayed via display 250 . At step     generating signals that allow for determination of the ori
286 the credit card device is configured according to account 5 entation , motion and acceleration of the credit card device
information associated with the selected account, which may         201a .
include an account number, an expiration date , and other              The detected movement signal is received by the motion
user information associated with the account ( e. g. a user-        detection module 210 . The detected movement signal is
name, PIN , password , email address, etc .). At step 288 the       generated by any one of the set of motion detection units, or
planar coil of the credit card device is encoded with a 10 any combination of motion detection units of the set. For
limited - duration credit card number that is associated with       example , the movement detection signal is able to be gen
the selected account. The limited -duration credit card num         erated by the combination of the rate detection assembly 225
ber is able to be generated according to the selected account,      and the optical sensor array 230 . In an embodiment, the
a timestamp , a transaction amount, an indicated merchant,         movement detection module 210 is able to determine the
user key or secrets , on - card unique hardware secrets , credit 15 movement rate of the credit card device 201a from the
card authority key or secrets , user input from the card            detected movement signals , and transmits the determined
interface , and other information associated with the trans         movement rate , and orientation to the processor unit 205 . In
action .                                                            an embodiment, the motion detection module 210 sends the
Movement Rate Feedback                                              detected movement signal to the processor unit 205 , and the
   The relative movement rate of credit card device 201a is 20 processor unit 205 determines the relative movement rate .
detected by one ormore of the set ofmotion detection units,      In one embodiment, the generation of the magnetic field
comprising the rate detection assembly 225 , the optical            by the planar coil 220 at a specified rate of alternating
sensor array 230 , and the set of accelerometers 235 . Each of      polarity is accomplished according to the following descrip
the motion detection units detects the motion of the credit         tion . One or more of the motion detection units in the set of
card 201a in a distinct manner. The rate detection assembly 25 motion detection units (rate detection assembly 225 , optical
225 , which is positioned alongside (but independent of) the   sensor array 230 , and set of accelerometers 235 ) detect a
planar coil 220 , is able to detect the location of a magnetic     movement rate of the credit card device 201a with respect to
head reader as the rate detection assembly 220 is being             a magnetic card reader, and signal the motion detection
passed through the credit card reader. The reader module of        module 210 . The movement rate is provided to the processor
a conventional credit card reader comprises a metal head 30 unit 205 , which determines the appropriate rate for alternat
having a small gap at the tip of the head . A pickup armature       ing the polarity of the magnetic field generated by the planar
resides in this gap , such that as the metal head passes over      c oil 220 . The processor unit 205 outputs instructions or data
a credit card strip , an electric field is induced in the head      to the coil interface 215 at the determined rate , which in an
reader pickup circuit . In one embodiment the rate detection        embodiment is a digital-to - analog converter (a DAC ) and
assembly 225 is constructed of an array of auxiliary inductor 35 acts to translate the signal from digital to analog in order to
coils and magnetic pickup coils . As the metal head of the       drive the planar coil 220 and produce the magnetic field . The
card reader assembly passes over the arrangement of aux -           instructions from the processor unit 205 are comprise binary
iliary inductor coils and magnetic pickup coils of the rate         code, which are output through a shift register to the coil
detection assembly 225 , a disturbance in the magnetic field        interface 215 . The shift register outputs data at a rate
flowing between the two is induced , generating a change in 40 proportional to the determined movement rate of the credit
current and producing a detected movement signal. The          card device 2010 — thus, a higher determined credit card
change in current is detected by themotion detection module         device 201? movement rate has a corresponding higher
210 , and is used to determine the rate of motion of the card       output rate at the shift register, leading to a higher rate of
reader head passing across the surface of the credit card           alternating polarity at the generated magnetic field (i. e .,
device 201a ( and therefore along the planar coil 220 ).         45 encoded data symbols output more quickly ). Conversely , a
   The optical sensor array 230 is also operable to detect a        lower movement rate of credit card device 201? leads the
movement rate of the credit card device 201a with respect to        processor unit 205 to control the shift register to output data
a conventional magnetic card reader . The optical sensor            at a lower rate , and consequently the rate of alternating
array 230 is disposed nearby the planar coil 220 , in order to     polarity in the generated magnetic field is lower.
accurately detect a movement rate in the region of the planar 50 FIG . 3 illustrates an exemplary process 300 for determin
coil 220 . In an embodiment, the optical sensor array 230 is       ing the rate to alternate the polarity of the generated mag
a thin strip parallel to , and extending along , the length of the netic field of the credit card device , according to an embodi
planar coil 220 . The optical sensor array 230 determines a         ment of the present disclosure. At step 301 the process
location of a minimum of received light, which corresponds          determines if a standard magnetic card reader is detected to
to the region of a surface in nearest proximity to the optical 55 be in proximity with the credit card device . If NO , the step
sensor array 230 . The magnetic reader head of a conven -           repeats . If YES , the process moves to step 303 . At step 303
tionalmagnetic card reader extends furthest from the surface        a detection of a movement rate at which the body of the
of the card reader, and therefore the detected minimum in           credit card device is moving relative to the standard mag
received light at the optical sensor array 230 corresponds netic card reader is made . The process continues at step 305 ,
with the location of the reader head . By tracking over time 60 wherein a magnetic field is generated by an inductor assem
the position of thisminimum received light along the optical        bly comprised by the credit card device, the magnetic field
sensor array , a detected movement rate may be found .              having a target rate of alternating polarity that is based on the
   The set of accelerometers 235 are also operable to detect detected movement rate from step 303 . The process then
a movement rate of the credit card device 201a . The set of repeats at step 301, determining if a standard magnetic card
accelerometers 235 are positioned in the credit card device 65 reader is ( or remains) in proximity to the credit card device .
201a in order to effectively measure the position and accel-   In this manner, while a standard magnetic card reader is
eration of the credit card device 201a . In an embodiment, the detected to be in proximity to the credit card device , the
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movement rate of the credit card device is determined and            to which the user would need to respond correctly using the
the polarity and orientation of the generated magnetic field         input buttons of touch sensor 445 on the card .
 is alternated at the appropriate rate , to recreate the data as     Limited -Duration Credit Card Number
described above , at the correct rate , in order to clock out the          further security feature of the credit card device pro
data to be conveyed to the magnetic strip reader , at a rate 5 vided in the present disclosure is the capability of producing
matching the action of an ordinary magnetic strip card               a limited -duration credit card number for performing trans
through same said magnetic card reader.                              actions using accounts of the card . The credit card device
Security                                                             comprises a real -time clock that is able to produce a cryp
   Security is an area of concern for credit card holders , as   tographically protected timestamp for each interaction . The
the small form factor makes theft quite easy , and addition - 10 power source is able to activate the processor unit such that
ally there are many ways for a malicious third - party to        a unique number may be generated by the credit card device
record the account number of a credit card in order to later         and verified by the credit authority according to the time
make fraudulent transactions on the account. Embodiments             stamp and the transmitted user information . The limited
of the present disclosure address security concerns of a    duration credit card number is able to be produced at the
credit card owner on several fronts .                    15 time the credit card device is performing a transaction , and
  In one aspect, security of the credit card device is      is able to be generated according to the user 's private
enhanced by providing a means of locking the credit card    information , a bank information , information regarding the
device in order to prevent use , until such time that a valid        facility performing the transaction , and the time of day. The
user input is entered . Embodiments of the present disclosure        limited -duration credit card number is able to be limited to
provide a credit card device having a region for receiving 20 only one transaction , a finite number of transactions, or may
human input, e . g ., touch sensors which are able to be formed      be limited to a specified period of time e . g ., 2 minutes , 10
by contacts that a user can press ( e .g ., the touch sensor array   minutes, 3 hours — after which time that particular limited
245 of FIGS. 2A - 2B ). FIGS. 4A - 4B illustrate a user inter -      duration number would become invalid . As detailed above ,
acting with a credit card device 401 via a keypad or touch        if an expired limited - duration credit card is attempted to be
sensor array 445 . In FIG . 4A , the credit card device 401 is 25 used for a transaction , the transaction is denied and an
in a locked state . A display 450 is able to display a message       automatic notification is able to be made to a credit authority
to the user, for instance , the message " device locked” or          in order to notify the user and to prevent transactions on the
" enter password ,” or question prompts which guide the user         account. The transaction count is able to be determined
to respond with answers through said key -pad or said touch          through the action of passing the card through magnetic
sensor, to certain preset questions, that confirm personal 30 reader, and the process of transmitting said card number to
knowledge known only to the associated user. The touch        said card reader.
sensor array 445 enables user interaction with the credit card          In one embodiment, the number on the front of the card
device 401 . An exemplary use of the touch sensor array 445          is able to be a full or partial number . In an embodiment, the
is an input of a currency amount to be used in a transaction .       number displayed on the credit card device is a static
The touch sensor array 445 is able to include buttons, or a 35 number, but the number transmitted during a transaction is
touch - sensitive pad , or a combination of the two . Other          a limited -duration credit card number as described above .
embodiments of the touch sensor array 445 allowing a user             The number displayed on the credit card device may not
to input data to the credit card device 401 are consistent with      necessarily be a static number. For example , the first four
the spirit and scope of the present disclosure .                     and last four digits of the credit card number are able to be
   In order to unlock the credit card device 401 and enable 40 fixed , while the remaining eight digits can be dynamically
a transaction or other usage , the user inputs data via the          generated . As the credit card is read by the machine, part or
touch sensor array 445 . FIG . 4B illustrates the user inputting     all of the number may be dynamically produced at the time
a password via a gesture 470, which operates to unlock the           the card is read . As described above , the dynamic part of the
credit card device 401. The display 450b is able to display     limited - duration credit card number generated may be based
a message indicating the credit card device 401 is unlocked 45 on the user 's private information , the user ' s bank informa
and ready for use , for instance , display 450b may display the tion , the time of day or the facility that is reading the card .
message " unlocked ,” or it may display an account number Further, the expiration date of the credit card device can also
associated with the credit card device 401 .                    be dynamically generated .
   Embodiments of the present disclosure provide additional        Effectively , embodiments of the present disclosure pro
functionality for the touch sensor array 445 . For example , 50 vide a credit card device that has no fixed number, and
there may be touch contact terminals that a user can press to   therefore the account cannot be compromised . Only the
wake up the credit card device 401 , to cause the battery to         number generated at the instant of the credit card transaction
supply power , or to place the credit card device 401 in a           matters . Accordingly, unauthorized use of the credit card
power reduction mode when it is not being used . In an       device is highly unlikely, because a transaction cannot be
embodiment, if any number other than the correct password 55 conducted with an expired limited -duration credit card num
is entered multiple times , or if there is an attempted usage of     ber, or only the static portion of the credit card number . In
the credit card device 401 without entering in a password , an       one embodiment of the present disclosure , sufficient
automatic phone call may be triggered to the appropriate             dynamically generated numbers are provided for on the
fraud protection authorities .                                  credit card such that a unique credit card number can be
   In one embodiment of the present disclosure , the display 60 generated for each transaction . In this embodiment, the
450 is a thin - film liquid crystal display (“ LCD " ). The          credit card of the present disclosure effectively acts as a
display 450 is able to have multiple uses. In one embodi-            unique per-transaction credit card .
ment, the display 450 can be used to cue the user for a                 In one embodiment, the process steps enabling a card
security question upon input of an improper password . Or if         transaction are as follows. A credit card device ( e. g ., credit
fraud protection services need to contact a customer, they 65 card device 201b ) is connected to a computer system ( e . g .
can verify the customer ' s identity by transmitting a security      computer system 590 ) , via any of the connection means
question to the display 450 of user 's credit card device 401 ,      available to the credit card device (USB 270 , NFC 260 , and
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RFID 265 ). User data and other essential information , such               501 can uniquely generate a limited -duration credit card
as account information , are downloaded to the credit card                 number ( as described above ) for online purchases . The
device . For example , for an account designed for online                  credit card device 501 receives a user input indicating that
transactions, user account information will likely include an a transaction is imminent, and an authorization . The user
account email and an account password . The account may be 5 input is able to comprise a gesture, a swipe , a key input
for example a bank account, a credit account, a merchant sequence, and combinations thereof. The limited -duration
account, an online transaction account, or a cryptocurrency. credit card number is able to be displayed on the front
In one embodiment a currency amount is also downloaded ,                   display of the credit card device 501. In one embodiment,
which is made accessible to the credit card device 2016 for                the credit card device 501 is able to use RFID 265 or near
transactions . In an alternative embodiment , rather than a 10 field communication NFC 260 technology in order to con
currency amount being downloaded to the credit card device                 nect to a personal computer 590 . This enables a per -trans
2016 , the user account information ( e . g ., username and                action , limited -use credit card number, enhancing the secu
password ) is stored such that a subsequent authorized credit              rity of the credit account by substantially negating the
card device 201b transaction is automatically pre -authorized              possibility of a theft of the credit card number used to
to deduct (or credit the entered transaction amount at a 15 perform the transaction leading to account compromise .
stored account. In an embodiment, a user uses the touch                       According to an embodiment, the transaction is able to
sensor array 245 of the credit card device 2016 in order to                include information regarding a user account, such as an
input the user information , including the amount of currency              email address of the user , and upon reconnection of credit
to be stored . The information entered by the user is able to card device 2015 to a computer system ( for instance , com
 include an account source of a transaction ( e. g ., bank 20 puter system 590 ), the transaction information stored on
account, credit account, merchant account, ATM , online       credit card device 2016 could be " replayed ” by the computer
payment service , or a cryptocurrency ), as well as a type of              system in order to finalize the transaction .
transaction to be made ( e. g ., as a debit card , as a credit card ,         In one embodiment, a means of limiting an available
or as a user account). In another embodiment, the informa-                 credit amount are provided . According to the download
tion is entered using the computing system to which the 25 process described above, the credit card device is able to
credit card device 2015 is connected .                     have a total credit available. The credit card device is able
   Transactions may be authenticated on the specified         to reference the total credit available in subsequent transac
account by entry of the username and password for the tions, and will provide limited - duration credit card numbers
account during the transaction , using the touch sensor array corresponding to amounts up to , but not exceeding, the
245 . In an embodiment, a password for an account is 30 remaining credit available to the credit card device . An
represented by a user input (such as a gesture , a swipe ,    attempt to perform a transaction having an amount exceed
and/ or an unlock keycode ) which is entered on credit card   ing the remaining credit available will not result in a valid
device 2016 during a transaction for account authentication . limited -duration credit card number, and therefore an
According to an embodiment of the present disclosure, a                    authenticated transaction cannot proceed . In general, the
user that has " primed ” the credit card device 2016 for a 35 credit card device will only successfully generate a limited
transaction has already performed a security authentication                duration credit card number if the proper conditions for a
on the card , and therefore a subsequent card transaction is transaction are determined to be present. The proper condi
able to be pre - authorized to perform the transaction without  tions for a transaction comprise a correct identification
further user authentication steps. The priming action can be having been made by the user (via a gesture , swipe, and/or
a tap of the credit card device 2016 detected by accelerom - 40 key input ) and an amount for the transaction indicated to be
eters 235 , or a gesture , swipe, or a key input received by less than the total credit available to the account indicated
touch sensor array 245 .                                                   for the transaction .
   A transaction is able to be communicated using the planar               Card -to -Device Transactions
coil 220 . In one embodiment, when the transaction is a credit                In addition to transactions performed using conventional
card transaction , a limited -duration credit card number is 45 magnetic card readers ( such as at point-of- sale locations,
generated . A user inputs an amount for the transaction using              banks, and automated teller machines ( ATMs)) and via cable
the touch sensor array 245 , and the limited - duration credit             connection with a computing device, transactionsperformed
card number is generated to correspond with the entered         wirelessly between a card and a device ( e. g., card - to -card ,
amount. The binary data corresponding to this limited           card -to -computer device having a reader dongle , card -to
duration credit card number is sent from the processor unit 50 ATM ) are provided according to embodiments of the present
205 to the coil interface 215 , where it is converted to an     disclosure . For simplicity, the following describes a card
analog signal in order to drive the planar coil 220 to generate to - card transaction , but it will be understood that card -to
a magnetic field having an alternating polarity correspond -               device transactions are similarly provided .
ing to the encoded data of the limited - duration credit card                FIG . 6 illustrates a card -to -card transaction according to
number.                                                                 55 one embodiment. A first credit card device 601a comprises
Online Transactions                                                        a display 650a , and is in contact with a second credit card
  FIG . 5 displays the credit card device 501 in connection                device 601b . A contact interaction between the cards is
with a computing device 590 . In one embodiment, the credit                indicated by interaction 680 . In one embodiment, the contact
card device 501 is able to be used to make online purchases .              interaction is a tapping of credit card device 601a against
In one embodiment, the credit card device 501 is equipped 60 credit card device 601b . In another embodiment, an optical
with a means 570 for communicating with the USB port on      sensor array at one or both of the cards detects interaction
a computer or other device in order to make online pur                     680 . In another embodiment, interaction 680 indicates a
chases . In one embodiment the credit card device 501 may                  swipe of credit card device 601a across credit card device
have an area cut-out, such that contact terminals correspond -             601b . In one embodiment a user input through said key -pad
ing to a USB cable connector are contained within , enabling 65 initiates and enables a transaction from first card to second
connection of a USB cable (e . g ., a micro -USB connection ).             card . In one embodiment the presence of second card in
When performing online transactions, the credit card device                preparation for card to card transaction is confirmed through
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" polling" , the process of which involves transmission of           is able to generate a confirmation of the received transaction
data between cards , and confirmed receipt of transmitted            amount. In one embodiment, the amount indicated is pro
 data by response received from second card received at first vided by the receiving card 601b . The hashed record of the
 card , including information confirming receipt of said infor   transaction contains the unique information of each user,
mation , by second card .                                      5 along with the transaction amount. The success or failure of
    The planar coil comprised by each of credit card device the transaction is able to be displayed on the respective
601a and credit card device 601b is able to be a means of            displays of credit cards 601a and 601b .
transferring information for a transaction , e. g ., such as an      Account Theft and Unintended Use Prevention
antenna . Once either, or both , of credit card device 601a and         A security concern for conventional credit cards utilizing
credit card device 6016 detect interaction 680 , a transaction 10 wireless communication means is the ability of a thief to
is able to be completed via generation of a magnetic field at        access and/ or copy user information through un - detected
one card and reception of the magnetic field ( i.e ., reading ) at   interaction with the wireless communication means. Sensi
the other card . In this manner, the card (e . g ., credit card      tive and confidential information can be gleaned via , for
device 601a ) receiving the transaction information operates         example , " listening - in ” on an RFID interaction between a
its planar coil in an antenna mode. This enables credit card 15 credit card and a contactless reader, recording the charac
device 601a and credit card device 6016 to authentically             teristics of the interaction , and replicating certain character
perform a transaction , and to transfer a currency between           istics to fake an authorized transaction . While to a great
credit card device 601a and credit card device 601b . As             extent security concerns are addressed by the usage of
described above, in an embodiment the transaction is able to         limited - duration credit card numbers and other security
use a limited - duration card number to encode the transac - 20 features provided for by the credit card of the present
tion .                                                               disclosure and previously described , a further security fea
   In an embodiment, a set of accelerometers is used to              ture regarding the wireless communication means of the
detect the beginning of the transaction , for instance , a           credit card device is described herein .
transaction performed by a swipe of credit card device 601a             In one embodiment, wireless communication means of
across credit card device 601b . Further, the set of acceler - 25 the credit card device 2015 are in a powered -down, or
ometers can detect a " priming " action for a credit card            disabled , state prior to receiving an authenticated activation
device , i.e ., an indication for a credit card device that a        signal from a user. Upon receiving the activation signal, the
transaction is imminent. The priming action can be a tap of          communication means (e . g ., NFC 260 , RFID 265 , and
the credit card device 601a , or tapping the credit card device planar coil 220 ) are activated , enabling the credit card device
601a against the credit card device 601b . In one embodi- 30 2016 to conduct a transaction . The activation signal can
ment, a touch sensor array is able to be used for the priming        originate from one (or a combination ) of the set of motion
action .                                                             detection units ( rate detection 225 , optical sensor array 230 ,
   In an embodiment of a card -to - card transaction , one card      and accelerometers 235 ) , the touch sensor array 245 , and the
( e. g . 601a , the card of the user having a currency debit )       galvanic sensor 275 . The galvanic sensor 275 is operable to
generates the limited -duration credit card number, which is 35 detect a contact of human skin , via a current produced at the
transmitted via the card ' s planar coil. The credit card device     sensor 275 upon such contact. In an embodiment the gal
of the recipient (e .g ., 6016 , the card of the user receiving a    vanic sensor 275 is comprised of metallic contacts disposed
currency credit ) receives the encoded data via the planar           on opposite sides of, and isolated by , the body of credit card
coil, acting as an antenna , and the coil interface is able to       device 2016 . In one embodiment, the current produced by
convert the received signal into a digital signal understood 40 user contact with the galvanic sensor 275 contacts is suffi
by the processor to be the limited - duration credit card       cient to provide small amounts of energy in order to power
number, identifying both the correct account and the amount components of the card . For example , energy produced is
of the transaction .                                                 able to power the processor unit 205 and the RFID 265. In
   In one embodiment, the credit card device 2016 stores             one embodiment the galvanic sensor 275 further comprises
cryptocurrency information in processor unit 205 . The cryp - 45 two conducting surfaces separated by a junction , and the
tocurrency information stored is able to include a plurality of      galvanic sensor 275 is configured as a thermoelectric gen
cryptocurrency addresses , a plurality of private keys, and a        erator ( e. g., via the Peltier effect, the Seebeck effect, or a
plurality of public keys. The credit card device 2016 is able        combination ). For example , heat applied at one surface of
to perform a transaction , as described above , using a cryp -       the credit card device 2016 may lead to differential heating
tocurrency as the specified account. In one embodiment, the 50 between the opposing , separated conducting surfaces of the
credit card device 2016 is able to hash a portion of the             galvanic sensor 275 , generating an electric current and
transaction , using the processor unit 205 and the real- time        powering a subset of, or all of , the components of credit card
clock 240 along with user information pertinent to the               device 2016 (e .g ., the processor unit 205 , the NFC 260 , and
cryptocurrency account and the transaction . A subsequent            the RFID 265 ).
connection of the credit card 2015 to a computing device 55 In an embodiment, the communication means are acti
provides a means of connecting to the cryptocurrency serv - vated only so long as the activation signal continues to be
ers and finalizing the transaction . Further, the credit card        detected . In another embodiment, the communication means
device 2016 is able to sign a cryptocurrency transaction by,         are activated for a specified amount of time following
for instance , receiving a prompt at the display 250 to input        detection of the activation signal. For example , if using the
a dynamic PIN specific to the transaction , which is able to 60 credit card device 2016 in an ATM ( or other device ) pre
be entered by touch sensor array 245 .                               venting continuous human contact, the activation signal is
   In a card - to - card cryptocurrency exchange , a record of the   able to be a swipe , gesture , or key input sequence entered via
transaction can be made according to the following . A first         the touch sensor array 245 , which activates the card for a
card (e . g . 601a ) making a deduction with an amount indi-         specified duration (for instance, one minute ). In an embodi
cated via touch sensor array 245 is able to generate a record 65 ment the detection of motion through accelerometer input
of the transaction and store the record in the card memory,          indicates activation by a valid user. In one embodiment the
while a second card ( e.g. 6016 ) receiving the cryptocurrency       specific motion detected through accelerometer input corre
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sponding with a specific user action , such as a “ flick ” ,                     a motion rate detection array ;
" swipe ”, “ spin ” , “ wave” , “ tap ," may be used to initiate                 a memory for storing a user data and a currency amount;
activation, wherein said motion is not normally generated at                     a processor operatively coupled to the NFC unit, the touch
 idle and during periods of inactivity. For example said                            sensor array, the display, the motion rate detection
motion not being generated accidentally while said card is 5                       array, and the memory ;
 stored in a user 's wallet , carried while the user is actively                 a computer readable medium having instructions stored
moving , or is being handed from user to a clerk at a point of                     thereon that, responsive to execution by the electronic
transaction . In one embodiment the specific motion , or                           device , cause the electronic device to perform opera
sequence of motions, may be associated with a user, and                            tions comprising :
stored on said card memory, such that performing the correct 10                 accepting a user input of issued payments information
sequence when prompted can confirm the possession of the                          input at a touch screen display of the electronic device ,
card by the known owner, thus initiating activation and                           wherein the information comprising an issuer provided
enabling usage .                                                                   payment information ;
   FIG . 7 depicts a process of selectively enabling the                        wherein the memory comprises device - specific and user
 communication capability of the credit card device accord - 15                    specific information ; and ,
ing to an embodiment of the present disclosure . The process                    wherein the user provided payment information is com
700 begins at step 701, where an input signal is received at                      municated wirelessly ; and ,
the credit card device from a user. The input signal is able                    wirelessly receiving a static device account number pay
to be generated by any one , or combination , of a plurality of                   ment information for storage on the electronic device ;
input means , where the input means comprise : a swipe 20                          and
gesture received at a touch sensor array ; a key press                          wherein at least a portion of the payment information is a
sequence ; an accelerometer sensor indication of credit card                       limited -use number for limited - use by the device , in
device motion ; and a galvanic sensor indication that the                          place of a issuer provided payment information ; and,
credit card is in a user grasp . The input received from the                    dynamically - generating a one- time limited -use numbers
user enables operation of a near - field communication (NFC ) 25                   based on at least one of a set of information including :
unit of the credit card device . In one embodiment, the NFC                        user- identifying information ; user secrets ; device infor
unit is disabled prior to receiving the input signal. In one                       mation ; device secrets ; time; merchant; facility loca
embodiment, an RFID communication unit is disabled prior                           tion ; sequence count; payment information ; account
to receiving the input signal, and is activated by the input                        information ; amount; and transaction information ; and
signal. In one embodiment, the planar coil is disabled prior 30                  using said static device account number and said dynami
to receiving the input signal, and is activated by the input                       cally generated one - time limited - use number together
signal.                                                                             in the place of issuer provided payment information for
   The credit card device, following enablement of the NFC                         making a payment transaction .
unit, receives an indication of an amount of currency for a                      2 . The electronic device of claim 1 , wherein the motion
transaction at step 703 . At step 705 , the credit card device 35 rate detection array comprises a set of motion rate detection
generates a limited -duration credit card number, which at                   units , wherein the set comprises : a plurality of inductor coils
 step 707 is transmitted to a recipient of the transaction . In               and companion magnetic field pickup coils ; an optical sen
one embodiment, the limited - duration credit card number                     sor array ; and a plurality of accelerometers, and wherein a
has a limited recurrence , and is limited in scope of use to a                detected proximity between the electronic device and a
predetermined number of authorized transactions.                         40 second electronic device is determined from at least one of
   In the foregoing description of process 700 , the ordering                 the set ofmotion rate detection units .
of the process steps is exemplary and should not be con                          3 . The electronic device of claim 2 , wherein the plurality
strued as limiting . Alternative ordering of the process steps                of accelerometers generate an indication of the detected
 is consistentwith the present disclosure ,as conceived by one                proximity in response to a contact between said electronic
 skilled in the relevant art.                                            45 device and said second electronic device .
    The foregoing description , for purpose of explanation , has                 4 . The electronic device of claim 1, wherein the user input
been described with reference to specific embodiments .                       comprises one or more of:
However, the illustrative discussions above are not intended                    an introduction of a transaction - specific identifier ;
 to be exhaustive or to limit the invention to the precise forms                 a confirmation or a denial of an indicated transaction ; and
 disclosed . Many modifications and variations are possible in 50                a lock /unlock command determining operation of the
view of the above teachings. The embodiments were chosen                            electronic device according to an input sequence or a
and described in order to best explain the principles of the                        gesture across the plurality of touch sensors .
  invention and its practical applications, to thereby enable                     5 . The electronic device of claim 1, further comprising a
?/?/?/?/? /? ????ti?– ?? /?âÒâ?ti?????ti?ti??/? /?? /timòti?ti?m\ti??/??/?/?Â? â???Â?Ò?Â ???Â?Ò????? ?ti??\/?\/???\/?§Â§Â?Ò?Â?Ò?ÂòÂ?âÒÂ ??ti??ti??\?\§
  various embodiments with various modifications as may be 55 when the processor initiates a transaction , wherein the
 suited to the particular use contemplated .                                 sequential parameter is combined with any of a user infor
   Embodiments according to the invention are thus                           mation , a transaction identifier, a user secret, and a credit
described . While the present disclosure has been described  card authority secret and the processor is operable to gen
in particular embodiments, it should be appreciated that the erate a limited -duration credit card number therefrom .
invention should not be construed as limited by such 60 6 . The electronic device of claim 1 , wherein the limited
 embodiments, but rather construed according to the below                    use number has a limited recurrence , and is limited in scope
 claims.                                                                     of use to a predetermined number of authorized transactions.
   What is claimed is:                                                           7 . The electronic device of claim 1 , wherein the display
    1 . An electronic device comprising:                                    enables information to be displayed regarding the limited
    a near- field communication (NFC ) unit;                             65 use number, the time, a passcode , a sequence code, a
   a touch sensor array ;                                                   currency amount, and other credit card transaction informa
   a display ;                                                               tion of the user , a merchant, a bank or a credit card authority .
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                                                                                                   18
   8 . The electronic device of claim 1 , wherein the payment              17 . Themethod of claim 15 , wherein the issuer provided
transaction comprises a cryptographic hash of the transac               payment information is selected from at least one of a set
tion unit, wherein the cryptographic hash is processed and              comprising: account number ; card number ; device account
stored in said memory .                                                 number; expiration date ; card security codes; card validation
   9 . The electronic device of claim 1 , further comprising a 5 values ; card identification numbers ; cardholder name; pay
USB connector for connection to a standard computing ment method type ; merchant account; online account; an
device .                                                         account type; a direction of transaction ; the payment issuing
   10 . A method of storing and generating payment infor-               authority ; the amount of currency ; the unit of currency ; a
mation in an electronic device , the method comprising:                 funds type; cryptocurrency address; cryptocurrency key ;
   accepting a user input of issued payment information 10 cryptocurrency network , and card -type information .
     input at a touch screen display of the electronic device,             18 . A method of facilitating and authorizing an automated
     wherein the information comprises an issuer provided               teller machine (ATM ) transaction involving an electronic
     payment information ;                                              device, wherein an electronic device transacts wirelessly
  wherein the electronic device comprises device- specific           with an ATM , the method comprising :
     and user - specific information ; and ,                       15 providing ,by the electronic device , at least one of account
  wherein the issuer provided payment information is com                     information ; identification ; and authorization , for the
      municated wirelessly ; and ,                                    ATM transaction ; and ,
   receiving wirelessly a static device account number pay -     wherein the electronic device comprises a user interface
      ment information for storage on the electronic device ; comprising: displays ; touch sensors ; and buttons; and ,
      and wherein                                              20 recording a user selection from the user interface of the
   at least a portion of the payment information is a limited         electronic device of a user selected account from which
      use number for limited use by the device , in place of a        the electronic device is operable to wirelessly convey
      issuer provided payment information ; and,                      with an ATM ; and ,
   dynamically generating a one-time limited- use number                  recording a user selection from the user interface of the
     based on at least one of a set of information including : 25            electronic device of a user selected account operation ,
     user- identifying information ; user secrets ; device infor             wherein said user selected account operation is selected
     mation ; device secrets ; time; merchant ; facility loca                from a list of funds transfer operations ; and ,
     tion ; sequence count; payment information ; account               wherein user input information from the user interface
      information ; amount; and transaction information ; and           includes at least one of a set comprising: identification ,
  using said static device account number and said dynami- 30 account, amount of currency , operation and authorizing
     cally generated one -time limited -use number together        information; and,
     in the place of issuer provided payment information for         wherein the identification , selection , information and
      making a payment transaction .                                    authorizing operations are exchanged wirelessly
   11 . The method of claim 10 , wherein the electronic device          between the electronic device and the ATM via NFC ;
is configured to accept the user input by at least one of a 35          and ,
means comprising: a touch sensor array ; a touch screen ; a          wherein the ATM is configured for performing the user
keypad ; buttons ; device motion ; an accelerometer ; a bio             selected account operation using the identification and
metric input; a proximity contact sensor; optical sensors ; an          authorizing information ; and,
NFC unit; a wireless interface ; a wired connection ; a USB          wherein the identification and authorizing information
 connection ; an RF antenna ; an inductor assembly .            40      exchanged wirelessly between the electronic device
    12 . The method of claim 10 , wherein the device - specific         and the ATM comprises: statically and dynamically
information comprises at least one of a set including: device                generated limited -use number portions ; and ,
identifiers ; device secrets ; devices keys ; device usage              wherein said static and dynamic information is combined to
sequence counters ; and device account numbers .                        perform the user selected ATM operation .
   13 . The method of claim 10 , wherein the user - specific 45            19 . A method of claim 18 , wherein the identification and
information comprises at least one of a set comprising : an             authorizing information is generated from at least one of a
email address ; a username; a password ; a PIN ; a passcode ;           set identification and data comprising: ATM accounts ; user
gestures ; user information ; bank accounts ; payment infor -           identification ; biometric user identification ; device - identifi
mation ; device account numbers ; merchant accounts; online             ers ; email address ; username; transactional information ;
accounts ; currency amount; currency type; cryptocurrency 50 merchant identifiers ; facility location ; user accounts ; cryp
address ; cryptocurrency keys ; private /public keys ; signature        tocurrency address; cryptocurrency keys ; merchant
information ; and user secrets .                                        accounts ; online accounts ; bank accounts ; device account
   14 . The method of claim 10, further comprising rendering            numbers ; payment numbers; card issuing authority ; and
on the display of the electronic device the paymentmethod        payment-issuer ; and
types stored in the electronic device , wherein said rendering 55 wherein further the data includes at least one of time;
comprises rendering with images, alphanumeric characters             duration ; passwords ; passcodes; device position ;
and iconography including at least one of a set comprising :         device motion ; device - specifics ; secrets ; keys ; a cur
a bank logo ; an issuer logo ; card network icons; payment                   rency ; currency amounts ; cryptocurrency amount;
network icons; a portion of the account number; and a                        transaction limits; transaction records; usage duration ;
cardholder name.                                                   60        and usage sequence counts .
   15 . The method of claim 14, further comprising accepting       20 . A method of claim 18 , wherein user entered identifi
a user selection of a payment method type for use in a          cation and authorizing information is recorded through the
transaction responsive to a user selection from a list of user interface of the electronic device from at least one of set
payment method images rendered the display and using a          including:
touch screen interface for the user selection .               65 a plurality of button -press actions;
   16 . Themethod of claim 15 , wherein the user selection is      a swipe gesture received at a touch sensor of the electronic
a default payment method to be used in transactions.                  device;
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                                                                                                        20
   a key press sequence received at the touch sensor;                     a user 's location ,
   a passcode sequence received at the buttons ;                          an online address ,
   a plurality of swipe gestures received at a touch sensor of            a device - internal secret,
      the electronic device ;                                             a device unique identifier,
  a key press PIN sequence received at the touch sensor ; 5               a payment authority key,
  a passcode sequence received at the touch sensor;                       a payment issuer authority secret,
  an accelerometer sensor indicating a user motion of the                 a method and direction of payment, deposit, transfer and
     electronic device ;                                                     receipt,
   an action and sequence of motions of the electronic device             a cryptocurrency server,
     as performed by a user ;                                    \/??
                                                                          a cryptocurrency type ,
   an action of the user to move the electronic device into a             a cryptocurrency private key,
      specific orientation ;                                              a cryptocurrency public key,
   a biometric sensor confirming the electronic device is in              a cryptocurrency address ,
      a grip of the user ; and                                            a touch gesture ,
   a biometric sensor confirming the electronic device has 15             a biometrically sensed user information,
      remained in the possession of the user from activation              a user 's private information ,
      to transaction .
   21 . A method of claim 18 , wherein the identification and             a user key,
authorizing information is recorded responsive to the user                a user email,
inputting information using input methods provided by the 20              password ,
ATM to record at least one of a PIN number; a passcode; a                 passcode,
password ; a biometric identification ; and user known                    a PIN ,
secrets .                                                                 a user secret, and
   22 . The method of claim 18 , wherein the limited - use                a user input.
                                                             23. The method of claim of 18 , wherein the payment
number dynamically generated in the device is based on 25 .information
cryptographically combining data selected from the group                 comprises combining a plurality of static por
consisting of an ATM information,                          tions, and a plurality of dynamically generated limited -use
   the locality of an ATM reader facility,                 portions, and wherein the static portion is a token account
   information regarding the facility performing the trans number   with a limited - duration expiration date , to be used in
                                                           place of issuer provided information .
     action ,
  bank information ,                                                      24 . The method of claim of 18 , wherein the amount of
   a time of day,                                                       currency information can be a unit of value from at least one
   a date ,                                                             of a set of comprising : a cash amount, an amount of a debit
   a transaction amount,                                                account, an amount of credit, a maximum spending amount ,
   a count of past transactions,                                        a merchant account, a bank account amount , a unit of
   a sequence count ,                                                   cryptocurrency, an online account funds, an payment issuer
   a historical record of transactions ,                                unit of funds, and a merchant account points.
   a merchant account ,
